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                   United States District Court
                    District of Massachusetts
___________________________________
                                    )
United States of America,           )
                                    )
               v.                   )    Criminal Action No.
                                    )    19-10080-NMG
Gamal Abdelaziz and John Wilson,    )
                                    )
          Defendants.               )
___________________________________)


                                    ORDER

GORTON, J.

     Intervenors Dow Jones & Company, Inc., Boston Globe Media

Partners, LLC, The Associated Press and Bloomberg LP

(“intervenors” or “news media organizations”) move to intervene

to obtain 1) access to questionnaires completed by prospective

jurors, 2) a full transcript of individual voir dire of those

jurors, 3) the unsealing of the government’s motion to strike a

potential juror and the Court’s order thereon and 4) a ruling

that the Court conduct the remainder of the trial of John Wilson

and Gamal Abdelaziz in open court.          For the following reasons,

intervenors motion will be ALLOWED, in part, and DENIED, in

part.


I.   Facts


     Jury selection for the Wilson and Abdelaziz trial began on

Wednesday, September 8, 2021.        On that day, the Court greeted

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221 summonsed citizens arriving in two separate groups and

distributed a questionnaire for each prospective juror to

complete.    Those hearings were in open court and were made

available to the wider public via Zoom technology.         The

questionnaire was, and remains, publicly available.         See Docket

No. 2131.


    On Thursday, September 9 and part of Friday, September 10,

2021, the Court conducted individual voir dire of prospective

jurors as it does in all jury trials, albeit more extensively

due to the pre-trial publicity in this case.        After consultation

with the parties and court personnel, and in consideration of

the large number of jurors and the ongoing covid-19 pandemic,

the Court decided to utilize the entire courtroom to conduct

individual examination of the jurors, a process usually

conducted at sidebar outside the hearing of the general public.

Neither the government nor the defendants opposed that

procedure.   Because the entire courtroom was the functional

equivalent of a sidebar for the limited period of jury

selection, the public did not have access to the questioning of

prospective jurors.


    After the conclusion of individual voir dire on Friday

morning, the Court restored access to the proceedings to the

public for the remainder of jury empanelment, including the


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exercise of peremptory challenges.       From that point forward, the

public has had, and will continue to have, full and complete

access to the proceedings from the courtroom, an overflow

courtroom and by Zoom technology.1       The Court notes that such

access is considerably greater than that which is usually

afforded to the public in a criminal jury trial.


II.   The News Media Organizations’ Claims


      a.   Transcripts and questionnaires


      Intervenor news media organizations contend that the manner

in which the Court conducted the individual voir dire process

abridged their right of access to judicial proceedings secured

by the First Amendment and common law.        They contend that the

courtroom was improperly closed, and seek, inter alia, copies of

the completed questionnaires and a full transcript of individual

examinations.


      The Court declines to afford such relief.2        The courtroom

was not “sealed” during the individual voir dire.          Rather, it


1 Since the completion of empanelment, two jurors have expressed
concern to the Court about their ability to continue to serve,
citing private, personal reasons. Consequently, on two
additional occasions during the trial, the Court has conducted
“sidebars” in the lobby with counsel and the affected juror
present.
2 The Court will, however, allow intervenors’ motion to

intervene. While the First Circuit has noted that the right of
a non-party to intervene in a criminal proceeding is doubtful,

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was converted into a sidebar for the reasonable purpose of being

able to question potential jurors about personal, private

information disclosed in response to a lengthy questionnaire

without unnecessary intimidation or the crowding of multiple

attorneys and parties around a sidebar for a lengthy period of

time.    See Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555,

598 n.23 (1980) (Brennan, J., concurring) (explaining that “when

engaging in interchanges at the bench, the trial judge is not

required to allow public or press intrusion upon the huddle.”).


     All public jury trials (at least those conducted by this

judge) have used this method during jury empanelment only at the

stage of the proceedings where potential jurors are questioned

about their affirmative responses to questions posed by the

judge.     It is done to preserve the privacy of individual

citizens summonsed to sit as jurors in a federal case and is not

pertinent to the subsequent evidence presented by the government

in its case-in-chief, or to the defendant’s case, both of which

are presented in open court.




In re Globe Newspaper Co., 920 F.2d 88, 90 (1st Cir. 1990),
federal courts nevertheless generally have permitted limited
intervention by the media for the purpose of pursuing access to
court proceedings, see United States v. Ciccolo, No. 15-cr-
30018, 2015 U.S. Dist. LEXIS 170246, *8 (D. Mass. Dec. 21,
2015).

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    Citizens called to serve as jurors do not choose to be in

court and, of course, have not been charged with crimes.          They

are there to perform their civic duty as part of our unique and

venerated criminal justice system that is without precedent in

this world.   Most citizens called to serve on juries agree to

serve at considerable inconvenience and sometimes physical and

financial cost.   They do so because they are good citizens.

They do not thereby give up their right to reasonable privacy

and, although they are asked to reveal personal information to

the Court and the parties to assure that they can be fair and

impartial in the case at hand, they are entitled not to have

such information published by news media organizations.          If that

fundamental right is taken away from citizens called to serve on

juries, our entire judicial system, which assures those charged

with crimes with a trial by jury, will be jeopardized.         See

Press-Enterprise Co. v. Superior Court of California, 464 U.S.

501, 515 (1984) (Blackmun, J., concurring) (stating that “[t]he

State ... has an interest in protecting juror privacy, even

after the trial – to encourage juror honesty in the future”).


    This does not for a minute detract from the right of the

press and public to complete and open access to the substance of

criminal (and for that matter civil) trials and that rule

applies, and has been and will be abided by as usual.



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    None of the case law cited by intervenors demands a

different procedure.    United States v. Chin, 913 F.3d 251 (1st

Cir. 2019) and In re Globe Newspaper Co., 920 F.2d 88 (1st Cir.

1990) concerned the disclosure of juror names and addresses

after the jury has returned its verdict.       Both are factually

inapposite, and, in any case, neither was decided on

constitutional grounds.    See id. at 97, Chin, 913 F.3d at 260.


    More generally, intervenors contend that any closure must

be “narrowly tailored” and that the closure of the courtroom

during jury selection was overly broad in this case.         Press-

Enterprise, 478 U.S. at 14-15, see also Waller v. Georgia, 467

U.S. 39, 48 (1984) (holding that closure must be “no broader

than necessary” to protect privacy interest).        Yet the First

Circuit has repeatedly affirmed as consistent with Supreme Court

precedent jury selection procedures substantially similar to

those used in this case.


    In Wilder v. United States, 806 F.3d 653, (1st Cir. 2015),

cert. denied, 136 S. Ct. 2031 (2016), the First Circuit affirmed

the holding of a different session of this district court which

conducted individual voir dire in the jury deliberation room

behind the courtroom and not visible to the public.         In response

to defendant’s claim on appeal that the voir dire violated his




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Sixth Amendment right to a public trial, the First Circuit

concluded that the district court


    correctly found that the procedures used were "the
    functional equivalent" of a sidebar conference. The only
    difference between these procedures and a sidebar
    conference was that members of the public could not observe
    the individual questioning from their seats in the
    spectator gallery and attempt to discern facial expressions
    or body language, and the district court did not err in
    finding no functional difference between the two.

Id. at 657.   See also Presley v. Georgia, 558 U.S. 209, 213

(2010) (stating that “there is no legitimate reason, at least in

the context of juror selection proceedings, to give one who

asserts a First Amendment privilege greater rights to insist on

public proceedings than the accused has” under the Sixth

Amendment).


    Further, in Jaynes v. Mitchell, the First Circuit upheld

the use of limited closure of the courtroom during voir dire in

lieu of sidebar questioning.     824 F.3d 187 (1st Cir. 2016),

cert. denied, 137 S. Ct. 312 (2016).      Justice Souter, sitting by

designation in the First Circuit, stated that while a

“reasonable alternative” to closing the courtroom in order to

question prospective jurors would have been sidebar questioning

outside of the hearing of courtroom spectators, the trial court

did not err in opting for limited closure instead because “in

functional terms the limited closure .... was nothing more” than

sidebar questioning.    Id.   (citing Wilder, 806 F.3d at 660).

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    Because the Court is convinced that its jury selection

procedure is consistent with Wilder, Jaynes, and any other First

Circuit and Supreme Court caselaw, it will deny intervenors’

motion for access to transcripts and questionnaires.


    b.    Other relief


    With respect to the other relief sought by intervenors, the

Court will unseal the government’s motion to strike a juror for

cause (Docket No. 2180) and the Court’s decision thereon (Docket

No. 2184) after making redactions appropriate to protect the

privacy of the prospective juror concerned.


III. Recommendation

    Upon consideration of the intervenors’ motion:


    1) Intervenors motion to intervene (Docket No. 2209) is

         ALLOWED;



    2) with respect to the unsealing of the government’s motion

         to strike a potential juror (Docket No. 2180) and the

         Court’s order allowing the same (Docket No. 2184),

         intervenors motion for access to the proceedings is,

         subject to appropriate redactions, ALLOWED; but



    3) intervenors motion is otherwise, DENIED.


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So ordered.



                                 _/s/ Nathaniel M. Gorton____
                                 Nathaniel M. Gorton
                                 United States District Judge

Dated September 20, 2021




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